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AO 442 (REV. 12/85)




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS, EL PASO DIVISION




USA                                                     §
                                                        § CRIMINAL COMPLAINT
vs.                                                     § CASE NUMBER: EP:19-M -04253(1) - LS
                                                        §
(1) Facundo Hernandez-Moreno                            §



           I, the undersigned complainant being duly sworn state the following is true and correct to the best
of my knowledge and belief. On or about April 14, 2019 in Hudspeth county, in the WESTERN DISTRICT
OF TEXAS defendant did, being an alien to the United States, enter, attempt to enter, and was found in the
United States after having been previously excluded, deported, and removed from the United States without
receiving permission to reapply for admission to the United States from the Attorney General of the United
States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code,
Sections 202(3), 202(4), and 557

in violation of Title           8           United States Code, Section(s)    1326

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "The DEFENDANT, Facundo HERNANDEZ-Moreno, an alien to the United States and a citizen

of Mexico, was found at the United States Border Patrol Checkpoint located on the Interstate 10 Highway,

near Sierra Blanca, Texas, in the Western

Continued on the attached sheet and made a part of hereof.




Sworn to before me,
                                                                       Signature of Complainant
                                                                       Chavez, Mario
                                                                       Border Patrol Agent

April 16, 2019                                                    at   EL PASO, Texas
Date                                                                   City and State




LEON SCHYDLOWER                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                         Signature of Judicial Officer
                                                                       OATH TELEPHONICALLY SWORN
                                                                       AT 01:00 P.M.
                                                                       FED.R.CRIM.P. 4.1(b)(2)(A)
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CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -04253(1)

WESTERN DISTRICT OF TEXAS

(1) Facundo Hernandez-Moreno

FACTS   (CONTINUED)

District of Texas. From statements made by the DEFENDANT to the arresting agent, the DEFENDANT was
determined to be a native and citizen of Mexico without immigration documents allowing him to be or remain
in the United States legally. The DEFENDANT has been previously removed from the United States to Mexico
on March 14, 2019, through El Paso, Texas. The DEFENDANT has not received permission from the Attorney
General of the United States or the Secretary of Homeland Security to reapply for admission into the United
States.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:
The DEFENDANT has been deported 1 time(s), the last one being to MEXICO on March 14, 2019, through
PASO DEL NORTE, TX, BRIDGE


CRIMINAL HISTORY:
02/21/2009, FORTH WORTH, TX, DWI/OPEN ALCOHOL CONTAINER(M), CNV, 15 DAYS JAIL.
03/04/2019, DEMING, NM, ILLEGAL ENTRY(), CNV, 8 DAYS JAIL.
